        Case 1:24-cr-20051-JEM Document 83 Entered on FLSD Docket 12/19/2024 Page 1 of 1

     Mail body:




                                                                                                                      DE_C-. 17 2J24
                                                                                                                       ANGELA E. NOBLE
                                                                                                                      CLERK U.S. DIST CT
                                                                                                                      S. D. OF FLA .• MiAMi
             A1"1'0R.-.:£\'(S) fOR:
                         "•   .   ~,   .;


                                                      UNITED STATES DISTRICT COURT FOR THE.
                                                          SOUTHERN DISTRICT OF FLORIDA
iI
I,

                              UNITED STATES OF Al'\1ERICA
                                                                                      24-cr-20051-JEM
                                                                       PJaintiff(s)
                                                 v.
                                                                                          SFATE~fENTOP CONSENT.TO-PROCEED
                                                                                      BEFORE AUNITED'sf.AT£S.~1A'.~-$t~lE.JUl)~E
                                       ALFRED LENORIS DAVIJ!r                       (For q~c ~-Dih.'C~-!\~signm~~ ofCiv~ ~s~ Co.ll,fa~t,atc,
                                                         /:)A\/JS,   Q.t(cn~an•(~~-                   Judg~- ~'()~!.~-~•r> .    . -, - : : ..       >-
                      nnsIS A NOTICE TO 'THE FEDERAL COURTS THAT MAURICE SYMONETTE AND
                     MACK WELLS DOES NOT CONSENT TO THE MAGIS'J;RATE JUDGE: 28 USC 636 (C).(1)
             In accordance \titl1_ General Order 1.2-02 and Local Rule 73-2 &he a~~vc-captioncd civil matter has b_ecn ra~domly
             ass,igncd to Magistrnt~Judge                     EDUARDO SANCHEZ                        . All _P.?rtie~ to tl1e.above-~ptioneddvil_
             matter are (C) sdccl Orie bf the totio,~i~g-,,._;~ ~ptions and tile this documennVl'th tbe'C!erk's Oflkc. 13-e-cttV>e"tf,,-:s •j\Mtg )a"f';{,ft'
             14-Pr-,j ~ ~ ~~,,'c.-roP /,,,__,~Jht,l,ltf!,,.. -1-1,.1.r CAr:;r.-e k l5,;,y IE~h,'/;,l-jr: Ay/, ~ ·
              □·    ·.. •·9~~ party9r..,1>;trff~·l,i.s!ed,~tJow. ~<>..tl~c ~~ore,eaptlq~~d-dyil man~r c:9p~~qt p~tsua,ft Jo the pr~rjsf~.ns ~f ~~
      ·," - ·:- .       U;S.C.-j 636(C) ruid fJ~.eiv:p. 73(b)~ to hav~ the assigJ1ed. Magistrate Judgcconducfall fm',her proceedi11gs in
                    . • thi~ case. fn~U'dilJ!f trial31~d entry of f;:t1.\l ju~gm.cnt.

                       . 1\ny ~pp~J (ro~l ajudgmcnt of the asslgn~d ~l)gislrote Judg~_sbnJJ be ~ken t<> d!e Uni~cd S~tc~.C~urt, of,t\p~
                        in th~ ~e ri1imner as an· appcaf (rop1 ony: otlieijudg~cnt of the District ,Court in acc~r<\once ,~i.th·'2S ·u.S.C.
                        § 636(c)(3)~ •               ••                                                                               •
                        The party or partits listed below to lhc ab'o,•c•caplioncd cMJ maucr. do not consent to protced before the
                        a,--sig!}ed .Magistrotc Judge.                                                                   •

                        The party-c;,rparties.lisre<J bcl(?\,v a.;kn9~\·ledgc that th~ are free to withbol~. co.1,s~nt without ~dversl? substantive
                        consequences.                '         •                                                      •       .




                                                             .µ_a:
                                                                 __.___
             Name of Counsel (OR P.trty if Pro:Per)                    Signature and date                 Counsel for (Name of Pan)· or ~arti~)

                        ALFRED DA,YJS                                                                                  -P.EF-ENPANI ,,,




            NOTICE T() CQU,11:SELFROM €LERK:
            •A_lf p~ties t1~'tjn~ C0!1_sc111cd ~o proceed be.for~ the 3;SSigned o·fogistr,1t~ Judge, ibis case wi~_rcm~~in assi~ed. !o l)'ni~ed
            ~i:it~ Mn~i.st~te·Judgc _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ f~~ all furlhcrpto,c~ings;
